          Case 4:18-cv-06810-JST Document 115 Filed 07/16/19 Page 1 of 8




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11
                                     UNITED STATES DISTRICT COURT
12                                 NORTHERN DISTRICT OF CALIFORNIA

13    East Bay Sanctuary Covenant; Al Otro Lado;
      Innovation Law Lab; and Central American              Case No.: 18-cv-06810
14    Resource Center in Los Angeles,

15                   Plaintiffs,                            PLAINTIFFS’ ADMINISTRATIVE
                                                            MOTION TO CONSIDER
16                   v.                                     WHETHER CASES SHOULD BE
                                                            RELATED, PURSUANT TO CIVIL
17    Donald J. Trump, President of the United States, in   L.R. 3-12 AND CIVIL L.R. 7-11
      his official capacity; William Barr, Attorney
18    General, in his official capacity; U.S. Department    [IMMIGRATION ACTION]
      of Justice; James McHenry, Director of the
19    Executive Office for Immigration Review, in his
      official capacity; the Executive Office for
20    Immigration Review; Kevin McAleenan, Acting
      Secretary of Homeland Security, in his official
21    capacity; U.S. Department of Homeland Security;
      Ken Cuccinelli, Acting Director of the U.S.
22    Citizenship and Immigration Services, in his
      official capacity; U.S. Citizenship and
23    Immigration Services; John Sanders,
      Commissioner of U.S. Customs and Border
24    Protection, in his official capacity; U.S. Customs
      and Border Protection; Matthew Albence, Acting
25    Director of Immigration and Customs
      Enforcement, in his official capacity; Immigration
26    and Customs Enforcement,

27                   Defendants.

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         Case 4:18-cv-06810-JST Document 115 Filed 07/16/19 Page 2 of 8




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 1          Plaintiffs in the East Bay Sanctuary Covenant v. Barr, Case No. 3:19-cv-04073 (N.D.

 2   Cal.)—respectfully request that this case be related to this earlier filed action, East Bay Sanctuary

 3   Covenant v. Trump, No. 3:18-cv-06810-JST (N.D. Cal.) pursuant to Civil L.R. 3-12. Counsel for

 4   Defendants opposes this motion.

 5          This case is the second time these same four organizational Plaintiffs have come to this Court

 6   to challenge a new government policy barring asylum for certain migrants who travel to the United

 7   States’ southern border. In November of 2018, these four organizational Plaintiffs filed East Bay v.

 8   Trump to challenge Defendants’ interim final rule eliminating asylum for noncitizens who entered

 9   the southern border between ports of entry. Now, the four organizational Plaintiffs challenge

10   Defendants’ new interim final rule eliminating asylum for noncitizens who arrive at or enter the

11   southern border without having first claimed asylum in any third country through which they

12   traveled en route to the U.S.

13          The two cases are related: they share parties, core legal issues, and facts. The Court in East

14   Bay v. Trump has issued two decisions addressing legal issues directly relevant to this action,

15   including the interpretation of the Immigration and Nationality Act’s asylum statute, at 8 U.S.C. §

16   1158, the notice and comment requirements of the Administrative Procedure Act (“APA”), and

17   questions of standing that Defendants are likely to raise again. See East Bay v. Trump, 349 F. Supp.

18   3d 838 (Nov. 19, 2018) (East Bay I); East Bay v. Trump, 354 F. Supp. 3d 1094 (Dec. 19, 2018) (East

19   Bay II).

20          Given the considerable judicial resources expended in East Bay v. Trump, and the overlap

21   between the parties, the legal claims, and their factual underpinnings, relation of the two cases is

22   warranted.

23   I.     APPLICABLE STANDARD UNDER CIVIL L.R. 3-12

24          Under Civil Local Rule 3-12, an “action is related to another when: (1) the actions concern

25   substantially the same parties, property, transaction or event, and (2) it appears likely that there will

26   be an unduly burdensome duplication of labor and expense or conflicting results if the cases are

27   conducted before different Judges.” Civil L.R. 3-12(a).

28          Whenever a party knows or believes that an action may be related to an action which is or


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           Case 4:18-cv-06810-JST Document 115 Filed 07/16/19 Page 4 of 8




 1   was pending in the Northern District, said party “must promptly file in the earliest-filed case an

 2   Administrative Motion to Consider Whether Cases Should be Related, pursuant to Civil L.R. 7-

 3   11.” Civil L.R. 3-12(b). That motion must include: “(1) The title and case number of each

 4   apparently related case; (2) A brief statement of the relationship of the actions according to the

 5   criteria set forth in Civil L.R. 3-12(a).” Civil L.R. 3-12(d).

 6   II.      THIS CASE IS CLOSELY RELATED TO EAST BAY v. TRUMP

 7            The two actions share parties, as well as the same causes of action, governing law, and

 8   factual underpinnings. The new case, East Bay v. Barr, Case No. 3:19-cv-04073, is an action for

 9   declaratory and injunctive relief brought by four organizations who challenge an interim final rule

10   denying asylum eligibility to noncitizens who enter or attempt to enter the southern border after

11   failing to apply for protection while in a third country through which they transited en route to the

12   United States. Plaintiffs challenge the lawfulness of this policy as violating the Immigration and

13   Nationality Act’s asylum statute and the APA. See East Bay v. Barr, Compl., Causes of Action at

14   29-31.

15            The earlier filed case, East Bay v. Trump, is likewise an action for declaratory and injunctive

16   relief brought by the same four organizations to challenge an interim final rule issued by the same

17   Defendants barring from asylum noncitizens who enter the southern border somewhere other than a

18   designated port of arrival. That case also challenges the lawfulness of the rule as violating the INA’s

19   asylum state and the APA.

20            The actions involve “substantially the same parties.” Civil L.R. 3-12(a). The organizational

21   Plaintiffs in the two cases are the same. Compare East Bay v. Trump Compl. ¶¶ 7-14 with East Bay

22   v. Barr Compl. ¶¶ 13-20. With one exception, the Defendants in both cases are the same. The

23   single exception is that President Trump is not named in this case. The remaining Defendants are

24   the same: the Department of Justice, Executive Office of Immigration Review, Department of

25   Homeland Security, United States Citizenship and Immigration Service, Customs and Border Patrol,

26   and Immigration and Customs Enforcement, and the corresponding agency heads are defendants in

27   both cases. Compare East Bay v. Trump Compl. ¶¶ 15-27 with East Bay v. Barr Compl. ¶¶ 21-32.

28            The central legal question in both cases is similar: whether Defendants’ new limitation on


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          Case 4:18-cv-06810-JST Document 115 Filed 07/16/19 Page 5 of 8




 1   asylum eligibility violates the asylum statute, 8 U.S.C. § 1158. Defendants issued both of their

 2   asylum bans pursuant to the Attorney General’s authority to impose limitations and conditions on

 3   eligibility for asylum that are “consistent with” § 1158, and to establish “conditions or limitations on

 4   the consideration of an application for asylum” consistent with the Immigration and Nationality Act.

 5   See 8 U.S.C. §§ 1158(b)(2)(C), (d)(5)(B). In both cases, Plaintiffs claim that the new policies are

 6   not, in fact, “consistent” with § 1158, because Congress has spoken to the availability of asylum for

 7   those individuals, including in the subsection heavily litigated in East Bay v. Trump, 8 U.S.C. §

 8   1158(a)(1), which provides that a non-citizen “who is physically present in the United States or who

 9   arrives in the United States (whether or not at a designated port of arrival . . . ), irrespective of such

10   alien’s status, may apply for asylum in accordance with this section.” Compare East Bay v. Trump

11   Compl. ¶¶ 101-106 (Claim 1) with East Bay v. Barr Compl. ¶¶ 101-106 (Claim 1). The East Bay v.

12   Trump Court has already interpreted the asylum statute in two separate opinions, and set forth

13   guiding principles on when the Attorney General may impose new “conditions” on asylum

14   eligibility. See East Bay I, 349 F. Supp. 3d at 856-859; East Bay II, 354 F. Supp. 3d. at 1112-13.

15           Moreover, as in the earlier case of East Bay v. Trump, Plaintiffs here also argue that the new

16   interim final rule illegally bypasses the notice and comment and grace-period requirements of the

17   APA. See 5 U.S.C. §§ 553(b), (c), (d). Compare East Bay v. Trump Compl. ¶¶ 107-110 (Claim 2)

18   with East Bay v. Barr Compl. ¶¶ 107-110 (Claim 2). Defendants have invoked the same “good

19   cause” and “foreign affairs” exceptions from the APA’s procedural requirements as cited in the

20   earlier case, and in fact, seek to rely on the same evidence to justify them. See Interim Final Rule

21   (“IFR”) at 43 (explicitly relying on “similar concerns and . . . similar conclusions” regarding a surge

22   of migrants as the “November 2018 interim final rule” to show good cause); 45-48 (citing on-going

23   negotiations with Mexico and Northern Triangle countries). Indeed, the preamble and discussion

24   accompanying the interim final rule at issue here cites repeatedly to the East Bay v. Trump case.

25   See, e.g., IFR at 42, 44, 47. Resolution of Plaintiffs’ APA claims will thus relate to issues of law and

26   fact twice considered by the East Bay v. Trump Court. See East Bay I, 349 F. Supp. 3d at 863; East

27   Bay II, 354 F. Supp. 3d at 1115.

28           Defendants will also likely raise the same standing and zone-of-interests defenses that have


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          Case 4:18-cv-06810-JST Document 115 Filed 07/16/19 Page 6 of 8




 1   been addressed in East Bay v. Trump. See East Bay I, 349 F. Supp. 3d at 852-853 (addressing Article

 2   3 standing of Plaintiff Organizations), 854 (addressing zone of interests test). See similarly East Bay

 3   II, 354 F. Supp. 3d at 1115-16. These questions present virtually identical issues because, not only

 4   are the plaintiffs the same, but the Plaintiffs assert the same types of injuries. Compare East Bay v.

 5   Trump Compl. ¶¶ 78-100 with East Bay v. Barr Compl. ¶¶ 109-136.

 6          In sum, there is substantial overlap between the plaintiffs, the legal claims, and the factual

 7   elements at issue in this case and in East Bay v. Trump. The East Bay Court issued two thorough

 8   opinions addressing directly relevant issues. In light of the resources committed to understanding

 9   the legal issues and the factual background in East Bay v. Trump, and the centrality of those issues in

10   each case, “there will be an unduly burdensome duplication of labor and expense” should East Bay

11   v. Barr not be assigned to Judge Tigar. Civil L.R. 3-12(a).

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      Dated: July 16, 2019                                Respectfully submitted,
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         Case 4:18-cv-06810-JST Document 115 Filed 07/16/19 Page 7 of 8




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 2                                     CERTIFICATE OF SERVICE
 3          I hereby certify that on July 16, 2019, I caused a PDF version of the foregoing document to
 4
     be electronically transmitted to the Clerk of the Court, using the CM/ECF system for filing and
 5
     emailed courtesy copies to all necessary parties.
 6
      Dated: July 16, 2019                               /s/ Julie Veroff
 7                                                       Julie Veroff
                                                         Attorney for Plaintiffs
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